                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WISCONSIN


ANTOINE ALPHONSE, JR.,

                      Petitioner,

              v.                                             Case No. 21-C-877

MILWAUKEE COUNTY SHERIFF’S OFFICE,

                      Defendant.


            ORDER ADOPTING REPORT AND RECOMMENDATION AND
                          DISMISSING PETITION


       Petitioner Antoine Alphonse, Jr., filed a petition for a writ of habeas corpus under 28 U.S.C.

§ 2241. On October 27, 2021, Magistrate Judge William E. Duffin screened his petition and filed

a Report and Recommendation, in which he recommends that the petition be dismissed. Alphonse

filed an objection to the Report and Recommendation on November 10, 2021.

       Alphonse asserts in his petition a violation of “90-day speedy trial,” due process, and cruel

and unusual punishment. Alphonse’s objection simply asserts the same arguments he made in his

petition and are addressed in Magistrate Judge Duffin’s Report and Recommendation. Having

considered the Report and Recommendation and Alphonse’s objection, the Court OVERRULES

Alphonse’s objection and ADOPTS Magistrate Judge Duffin’s Report and Recommendation in

its entirety. Accordingly, Alphonse’s petition is DISMISSED.

       SO ORDERED at Green Bay, Wisconsin this 12th day of November, 2021.

                                                      s/ William C. Griesbach
                                                      William C. Griesbach
                                                      United States District Judge




        Case 2:21-cv-00877-WCG Filed 11/12/21 Page 1 of 1 Document 10
